     Case 1-19-44421-ess        Doc 39     Filed 01/02/20     Entered 01/02/20 17:38:05




                                                          tmd3574/nk
 UNITED STATES BANKRUPTCY COURT                           FEBRUARY 10, 2020
 EASTERN DISTRICT OF NEW YORK                             9:00 A.M.
 ==================================X
 IN RE:                                                   Case No: 1-19-44421-ess

 HELEN PARDO DE FIGUEROA                                  Hon. Elizabeth S. Stong
 AKA FLORA E CLAROS
 AKA FLORA CALDERON,


                                                          NOTICE OF MOTION
                  Debtor
 ==================================X


               PLEASE TAKE NOTICE, that upon the within application, Marianne DeRosa,
Chapter 13 Trustee will move this court before the Honorable Elizabeth S. Stong, U.S. Bankruptcy
Judge, at the United States Bankruptcy Court, 271 Cadman Plaza East, Brooklyn, New York,
Courtroom 3585 on February 10, 2020 at 9:00AM or as soon thereafter as counsel can be heard,
seeking an order that strikes, reduces, or sets the amount of certain exemptions, pursuant to Fed.
R. Bankr. P. 4003(b), and the Chapter 13 Trustee requests such other and further relief as may
seem just and proper.
               Responsive papers shall be filed with the Bankruptcy Court and served upon the
Chapter 13 Trustee, Marianne DeRosa, Esq., no later than seven (7) days prior to the hearing
date set forth above. Any responsive papers shall be in conformity with the Federal Rules of Civil
Procedure and indicate the entity submitting the response, the nature of the response and the
basis of the response.

Date: Jericho, New York
      January 2, 2020

                                             /s/ Nathan Kaufman
                                             NATHAN Z. KAUFMAN, STAFF ATTORNEY FOR
                                             MARIANNE DeROSA, TRUSTEE
                                             100 JERICHO QUADRANGLE; STE 127
                                             JERICHO, NY 11753
                                             (516) 622-1340
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 UNITED STATES BANKRUPTCY COURT                          tmd3574/nk
 EASTERN DISTRICT OF NEW YORK                            FEBRUARY 10, 2020
 ==================================X                     9:00 A.M.
 IN RE:

 HELEN PARDO DE FIGUEROA                                  Case No: 1-19-44421-ess
 AKA FLORA E CLAROS
 AKA FLORA CALDERON,
                                                          Hon. Elizabeth S. Stong

                  Debtor
 ==================================X                      APPLICATION

TO THE HONORABLE ELIZABETH S. STONG, U.S. BANKRUPTCY JUDGE:

       Nathan Z. Kaufman, Esq., staff attorney for MARIANNE DEROSA, ESQ., the Chapter 13
Trustee (the “Trustee”) in the above-captioned estate, respectfully represents the following:

      1.    The Debtor’s Schedule C was filed with the Debtor’s schedules at docket number
27. Debtor elected state and federal non-bankruptcy exemptions pursuant to 11 U.S.C.
§522(b)(3).

       2.     The Trustee objects to the claimed exemptions as follows:

              a. Jewelry, A/B line 12, $1,500 under NY CPLR §5205 & NY Debt. & Cred. §283:
                 Debtor has not indicated an operative statutory subsection. To the extent
                 Debtor intended to claim the exemption under CPLR §5205(a)(6), exemptions
                 under that statute are limited to $1,150.

              b. Security Deposits from Tenants, A/B line 22, $4,000 under NY CPLR §5206(a):
                 Debtor has not provided evidence tracing the funds to security deposits from
                 her tenants. To the extent the funds are traceable to security deposits, Debtor
                 cannot take an exemption for property in which the Debtor has no ownership
                 interest. To the extent the funds are not traceable to security deposits, the
                 indicated statute does not provide an applicable exemption, and, upon
                 information and belief, there is no applicable exemption statute available to the
                 Debtor.

              c. Former Counsel claim for refund and possible legal malpractice, A/B line 33,
                 $1,100 under NY CPLR §52025(a)(9):
                 The indicated statute does not provide for an applicable exemption. Further,
                 upon information and belief, there is no applicable exemption statute available
                 to the Debtor.




                                               1
     Case 1-19-44421-ess       Doc 39     Filed 01/02/20    Entered 01/02/20 17:38:05




         WHEREFORE, the Chapter 13 Trustee respectfully requests that this Court enter an Order
striking each indicated exemption on the Debtor’s Schedule C, and for such other and further
relief as the Court may deem just and proper.

Dated: Jericho, New York
       January 2, 2020
                                           s/Nathan Z. Kaufman
                                           Nathan Z. Kaufman, Staff Attorney for
                                           Marianne DeRosa, Chapter 13 Trustee




                                              2
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------X   Case No: 1-19-44421-ess
IN RE:

 HELEN PARDO DE FIGUEROA
 AKA FLORA E CLAROS
 AKA FLORA CALDERON,

                                                                        CERTIFICATE OF NOTICE

                                       Debtor.
-----------------------------------------------------------X
                    I, Nathan Z. Kaufman, declare under penalty of perjury that I have sent the
attached document to the below listed entities in the manner shown, and prepared the Certificate
of Notice and that it is true and correct to the best of my information and belief.

Notice by first class mail was sent to the following persons/entities:

HELEN PARDO DE FIGUEROA
108-24 41 AVENUE
CORONA, NY 11368

Notice by electronic transmission generated by the ECF system to the following persons/entities pursuant
to Bankruptcy Rule 9036:

NORMA ORTIZ, ESQ., email@ortizandortiz.com

MODESTO A. CLAROS C/O DAVID A. GALLO & ASSOC., rgoldstein@msgrb.com

OFFICE OF THE UNITED STATES TRUSTEE, USTPRegion02.BR.ECF@usdoj.gov

Transmission times for electronic delivery are Eastern Time zone.

This January 2, 2020

/s/Nathan Z. Kaufman
Nathan Z. Kaufman, Staff Attorney
Office of the Standing Chapter 13 Trustee
Marianne DeRosa, Esq.
100 Jericho Quadrangle; Suite 127
Jericho, NY 11753
(516) 622-1340
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CASE NO: 1-19-44421-ess
Hon. ELIZABETH S. STONG

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
========================================================================
IN RE:

HELEN PARDO DE FIGUEROA
AKA FLORA E CLAROS
AKA FLORA CALDERON,

                  DEBTOR.

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    NOTICE OF MOTION AND OBJECTION TO DEBTOR’S CLAIMS OF EXEMPTION

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                        MARIANNE DeROSA, TRUSTEE
                    100 JERICHO QUADRANGLE; SUITE 127
                             JERICHO, NY 11753
                               (516) 622-1340

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